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                                         Certificate Number: 05781-CAC-DE-038765356
                                         Bankruptcy Case Number: 24-15335


                                                        05781-CAC-DE-038765356




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on August 13, 2024, at 6:23 o'clock PM PDT, Jeffrey Clark
completed a course on personal financial management given by internet by Sage
Personal Finance, a provider approved pursuant to 11 U.S.C. 111 to provide an
instructional course concerning personal financial management in the Central
District of California.




Date:   August 13, 2024                  By:      /s/Allison M Geving


                                         Name: Allison M Geving


                                         Title:   President
